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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS
BRANDON STEVEN MOTORS, LLC, )
                            )
           Plaintiff,       )
                            )
v.                          )                        Case No. 2:19-CV-02659-JAR-GEB
                            )
LANDMARK AMERICAN           )
INSURANCE COMPANY,          )
                            )
           Defendant.       )


                      NOTICE OF WITHDRAWAL OF COUNSEL

         To the Court, all parties, and their counsel of record:

         Please take notice that Carlyle W. Hall III has withdrawn as counsel on behalf of

Plaintiff Brandon Steven Motors, LLC in the above-captioned and numbered cause.

Plaintiff will continue to be represented by other counsel identified below. Client has been

notified of Mr. Hall’s withdrawal by Mr. McPherson.

                                             Respectfully submitted,

                                             POLSINELLI PC

                                             /s/ Brendan L. McPherson
                                             Jason L. Bush, # 18299
                                             Brendan L. McPherson # 23771
                                             Brisa I.I. Wolfe # 26700
                                             900 W. 48th Place, Suite 900
                                             Kansas City, Missouri 64112
                                             Telephone: (816) 753-1000
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                                             jbush@polsinelli.com
                                             bmcpherson@polsinelli.com
                                             bwolfe@polsinelli.com
CONSENT TO WITHDRAWAL:
                                             ATTORNEYS FOR PLAINTIFF BRANDON
                                             STEVEN MOTORS, LLC
Carlyle W. Hall III


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                             CERTIFICATE OF SERVICE

    The undersigned hereby certifies that a copy of the foregoing has been emailed and
mailed to Defendant’s counsel on the 31st day of May, 2022.


                                         /s/ Brendan L. McPherson
                                         Attorney for Plaintiff




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83601528.1
